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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 NAVY SEAL # 1, et al.,

                              Plaintiffs,
                                                        Case No. 8:21-cv-02429-SDM-TGW
        v.

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et al.,

                              Defendants.

               SUPPLEMENTAL NOTICE OF A RELATED ACTION

        Under Local Rule 1.07(c), counsel has a “continuing duty to notify the judge of

 a related action pending in the Middle District or elsewhere.” Defendants hereby

 notify the Court of additional lawsuits pending in this District and elsewhere. This is

 intended to supplement the Notice filed Nov. 3, 2022. See ECF No. 22.

        I certify that the above-captioned case:

    ☒        IS related to pending or closed civil or criminal case(s) previously filed in
             this Court, or any other federal or state court, or administrative agency as
             indicated below:

             In addition to those cases listed in the Nov. 3, 2022 filing, these cases raise
             RFRA claims about the DoD vaccine mandate on behalf of service
             members.

             Air Force Officer v. Austin, 5:22-cv-00009-TES (M.D. Ga.)

             Bongiovanni v. Austin, 3:22-cv-00237 (M.D. Fla.)

             Crosby v. Austin, No. 8:21-cv-02730-TPB-CPT (M.D. Fla.)

             Doster v. Kendall, 1:22-cv-00084 (S.D. Ohio)
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          Dunn v. Austin, 2:22-at-00165 (E.D. Cal.)

          Lembo v. Del Toro, 1:22-cv-00325 (D.D.C.)

          Navy Seals 1-26 v. Austin, 21-1236 (N.D. Tex.)

          Poffenbarger v. Kendall, 1:22-cv-00325 (S.D. Ohio)

          Short v. Berger, No. 22-1151-DMG (C.D. Cal.)

          Vance v. Wormuth, 3:21-cv-00730-CRS (W.D. Ky.)
          Click or tap here to enter text.



          IS NOT related to any pending or closed civil or criminal case filed with
    ☐     this Court, or any other federal or state court, or administrative agency.
          Click or tap here to enter text.
          Click or tap here to enter text.



 Respectfully submitted,

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 Counsel for Defendants

 3/8/2021




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